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                                UNITED STATES DISTRICT CO~,             ;


                              SOUTHERN DISTRICT OF CALIFORNIA


       UNITED STATES OF AMERICA,                     CASE NO.

                                Plaintiff,
                        vs.                          JUDGMENT OF DISMISSAL
       MATTHEW SCOTT NELSON,

                                Defendant.


                IT APPEARING that the defendant is now entitled to be discharged
      for the reason that:

            an indictment has been filed in another case against the defendant and
            the Court has granted the motion of the Government for dismissal OI
            this case, without prejudice; or

            the Court has dismissed the case for unnecessary delay; or

            the Court has granted the motion of the Government for                 dismi~~al,.
            without prejudice; or

            the Court has granted the motion of the defendant for a judgment of
            acquittal; or

            a jury has been waived, and the Court has found the defendant not
            guilty; or

            the jury has returned its verdict, finding the defendant not guilty;

            of the offense(s) as charged in the Indictment/Information:

            8:1324(a) (1) (A) (ii) and (v)(II)



                   IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


       DATED: 10/30/14
                                                      Jan
                                                      U.S. Magistrate Judge
